                                         Case 5:23-cv-00643-JGB-SP                      Document 13 Filed 05/16/23   Page 1 of 4 Page ID
                                                                                              #:241


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                                                        Telephone: (626) 535-1900
                                                    5 Facsimile: (626) 577-7764

                                                    6 Attorneys for Defendants
                                                        Leigh O. Curran, Kristy Fercho and
                                                    7 Leesa Whitt-Potter

                                                    8                                 UNITED STATES DISTRICT COURT
                                                    9                                CENTRAL DISTRICT OF CALIFORNIA
                                                   10

                                                   11 CONCETTA MANZANO S.,                           Case No.: 5:23-CV-00643-JGB-SP
                                                        GEORGE F. SEMEIL, JR.,                       Assigned to: Hon. Jesus G. Bernal
                  155 N. Lake Avenue, 11th Floor




                                                   12
                                                                          Plaintiffs,                NOTICE OF NON-OPPOSITION BY
                       Pasadena, CA 91101
L AGERLOF , LLP




                                                   13                                                DEFENDANTS’ LEIGH O. CURRAN,
                                                                 v.                                  KRISTY FERCHO AND LEESA
                                                   14                                                WHITT-POTTER TO MOTION TO
                                                        WILMINGTON TRUST                             REMAND BY PAUL BOUDIER AND
                                                   15 NATIONAL ASSOCIATION,                          DANCE HALL INVESTORS, INC.
                                                        BARRETT DAFFIN & FRAPPIER
                                                   16 TREADER & WEISS, LLP.,
                                                        THINKREALESTATE.NET,                         Date:    June 5, 2023
                                                   17 DIVISION OF KELLY WILLIAMS                     Time:    9:00 a.m.
                                                        REALTY, MORTGAGE                             Crtrm:   1
                                                   18 ELECTRONIC SYSTEM (AKA
                                                        “MERS”), KRISTINA PELLETIER,
                                                   19 LAWRENCE D. HARRIS, KRISTY
                                                        FERCHO, LEESA WHITT-
                                                   20 PORTER, ARNOLD L. GRAFF, and
                                                        DOES 1 through 50, inclusive,
                                                   21
                                                                          Defendants.
                                                   22

                                                   23

                                                   24            TO THE COURT, AND TO ALL PARTIES AND THEIR COUNSEL OF
                                                   25 RECORD:

                                                   26            PLEASE TAKE NOTICE that defendants Leigh O. Curran, Kristy Fercho
                                                   27 and Leesa Whitt-Potter (collectively, “Defendants”), by and through their counsel,

                                                   28

                                                        {94000/HR2682/00762396-2 }                     1
                                                                                                                     CASE NO. 5:233-CV-00643-JGB-SP
                                                                                                                       NOTICE OF NON-OPPOSITION
                                         Case 5:23-cv-00643-JGB-SP                   Document 13 Filed 05/16/23    Page 2 of 4 Page ID
                                                                                           #:242


                                                    1 do not oppose the Motion to Remand by Paul Boudier and Dance Hall Investors,

                                                    2 Inc.

                                                    3            Additionally, while Plaintiffs Concetta Manzano S. and George F. Semeil,
                                                    4 Jr. (collectively, “Plaintiffs”) are proceeding pro se, they still must comply with

                                                    5 Federal Rules of Civil Procedure Rule 11. Plaintiffs’ removal of this action does

                                                    6 not comply with Rule 11 and should subject Plaintiffs to sanctions. Specifically,

                                                    7 Plaintiffs’ basis for the removal of this action to the Central District is not

                                                    8 warranted by existing law, and is being presented for an improper purpose and to

                                                    9 delay litigation. The Court could impose sanctions on its own motion pursuant to

                                                   10 Rule 11(c). At minimum, Plaintiffs should be cautioned against engaging in

                                                   11 further frivolous litigation activity and motion practice.
                  155 N. Lake Avenue, 11th Floor




                                                   12
                                                                                                  Respectfully submitted,
                       Pasadena, CA 91101
L AGERLOF , LLP




                                                   13
                                                        Dated: May 16, 2023                       LAGERLOF, LLP
                                                   14

                                                   15
                                                                                                  By: /s/ Jeremy E. Shulman
                                                   16                                                 Jeremy E. Shulman
                                                                                                  Attorneys for Defendants
                                                   17                                             Leigh O. Curran, Kristy Fercho and
                                                                                                  Leesa Whitt-Potter
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                                                        {94000/HR2682/00762396-2 }                  2
                                                                                                                   CASE NO. 5:233-CV-00643-JGB-SP
                                                                                                                     NOTICE OF NON-OPPOSITION
                                         Case 5:23-cv-00643-JGB-SP                   Document 13 Filed 05/16/23       Page 3 of 4 Page ID
                                                                                           #:243


                                                    1
                                                                               CERTIFICATE OF SERVICE
                                                    2        I, the undersigned, declare that I am over the age of 18 and am not a party to
                                                      this action. I am employed in the City of Pasadena, California; my business address
                                                    3 is Lagerlof, LLP, 155 N. Lake Avenue, 11th Floor, Pasadena, California 91101-
                                                      4158.
                                                    4
                                                                 On the date below, I served a copy of the foregoing document entitled:
                                                    5

                                                    6
                                                      NOTICE OF NON-OPPOSITION BY DEFENDANTS’ LEIGH O. CURRAN,
                                                        KRISTY FERCHO AND LEESA WHITT-POTTER TO MOTION TO
                                                    7  REMAND BY PAUL BOUDIER AND DANCE HALL INVESTORS, INC.
                                                    8
                                                        on the interested parties in said case as follows:
                                                    9

                                                   10
                                                                         Served Electronically via the Court’s CM/ECF System:

                                                   11                                        See Service List
                  155 N. Lake Avenue, 11th Floor




                                                   12
                                                               BY MAIL: I am readily familiar with the firm’s practice of collection and
                       Pasadena, CA 91101
L AGERLOF , LLP




                                                   13           processing correspondence by mailing. Under that same practice it would
                                                                be deposited with U.S. Postal Service on that same day with postage fully
                                                   14           prepaid at Pasadena, California in the ordinary course of business. I am
                                                                aware that on motion of the party served, service is presumed invalid if
                                                   15           postal cancellation date or postage meter date is more than one day after
                                                                date of deposit for mailing in affidavit.
                                                   16
                                                               BY ELECTRONIC MAIL: I transmitted via Court’s CM/ECF System
                                                   17           the document listed above to the email addresses set forth above (or below)
                                                                on this date.
                                                   18

                                                   19        I declare under penalty of perjury under the laws of the State of California
                                                      that the foregoing is true and correct.
                                                   20
                                                             Executed on May 16, 2023, in Pasadena, California.
                                                   21
                                                                  Laurie Hlista                                 /s/ Laurie Hlista
                                                   22
                                                                  (Type or Print Name)                              (Signature of Declarant)
                                                   23

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                                                        {94000/HR2682/00762396-2 }
                                                                                                                      CASE NO. 5:233-CV-00643-JGB-SP
                                                                                                                           CERTIFICATE OF SERVICE
                                         Case 5:23-cv-00643-JGB-SP                   Document 13 Filed 05/16/23    Page 4 of 4 Page ID
                                                                                           #:244


                                                   1                                           SERVICE LIST
                                                   2                   Plaintiff, In Pro Per                    Plaintiff, In Pro Per
                                                   3                George F. Semeil, Jr.                        Concetta Manzano
                                                                        P.O. Box 196                               P.O. Box 196
                                                   4               Palm Springs, CA 92262                     Palm Springs, CA 92262
                                                   5                  Tel: (408) 364-6396                       Tel: (408) 364-6396
                                                   6
                                                                 Attorneys for Defendants                Attorneys for Defendants
                                                   7    Wilmington Trust, National Association, Paul Boudier and Dance Hall Investors,
                                                         not in its individual capacity, but solely   Inc., erroneously sued herein as
                                                   8       as Trustee of MFRA Trust 2016-1          Thinkrealestate.net, Division of Kelly
                                                        (erroneously sued as “Wilmington Trust                 Williams Realty
                                                   9       National Association”); Mortgage
                                                          Electronic Registration Systems, Inc.            Shannon B. Jones, Esq.
                                                   10       (erroneously sued as “Mortgage               ROSSI DOMINGUE LLP
                                                        Electronic System”); Kristina Pelletier;
                                                   11     Arnold L. Graff; Fay Servicing, LLC;            208 W. El Pintado Road
                                                         Ryan Finnigan; and Kimberly Bigham                  Danville, CA 94526
                  155 N. Lake Avenue, 11th Floor




                                                   12
                                                                 R. Robert Finlay, Esq.
                       Pasadena, CA 91101
L AGERLOF , LLP




                                                   13          Kristina M. Pelletier, Esq.                     Tel: (408) 495-3900
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                                                               Newport Beach, CA 92660
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                                                   16                     9142
                                                           Email: kpelletier@wrightlegal.net
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                                                        {94000/HR2682/00762396-2 }
                                                                                                                   CASE NO. 5:233-CV-00643-JGB-SP
                                                                                                                        CERTIFICATE OF SERVICE
